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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             Peer Street, Inc., et al., 1                                   Case No. 23-10815 (LSS)

                                                  Debtors.                  (Jointly Administered)

                                                                          Hearing Date: TBD
                                                                          Objection Deadline: September 6, 2023 at 4:00 p.m. (ET)


                                                        NOTICE OF MOTION

                 PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
         (collectively, the “Debtors”), filed the Motion of Debtors for Entry of Order (I) Further Extending
         Time to File Schedules and Statements of Financial Affairs and (II) Granting Related Relief
         (the “Motion”) with the United States Bankruptcy Court for the District of Delaware
         (the “Court”). 2

                PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion
         must be filed on or before September 1, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with
         the United States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,
         Wilmington, Delaware 19801. At the same time, you must serve a copy of the objection or
         response upon the undersigned proposed counsel to the Debtors so as to be received on or before
         the Objection Deadline.

               PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER
         APPROVAL OF THE MOTION WILL BE SCHEDULED FOR A DATE TO BE DETERMINED
         BEFORE THE HONORABLE LAURIE SELBER SILVERSTEIN IN THE UNITED STATES
         BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,
         3RD FLOOR, COURTROOM NO. 2, WILMINGTON, DELAWARE 19801.




         1
                The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
                numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
                Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
                (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
                (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
                PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
                Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
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                Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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              PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS OR RESPONSES
         TO THE MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE
         WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN
         CONNECTION WITH SUCH MOTION WITHOUT FURTHER NOTICE OR HEARING.

             Dated: August 23, 2023

             YOUNG CONAWAY STARGATT &                       KRAMER LEVIN NAFTALIS &
             TAYLOR, LLP                                    FRANKEL LLP
                                                            P. Bradley O’Neill (admitted pro hac vice)
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             Proposed Co-Counsel to the Debtors and
             Debtors in Possession




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